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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

 RALPH BIRCH,                                                :         3:20-cv-01790-VAB
                                Plaintiff                    :
                                                             :
 v.                                                          :
                                                             :
 TOWN OF NEW MILFORD et al.,                                 :
                                                             :
                                Defendants                   :
                                                             :         May 8, 2025

       DEFENDANT’S REPLY MEMORANDUM IN SUPPORT OF MOTION FOR
      JUDGMENT AS A MATTER OF LAW, AND FOR AN OFFSET OF THE JURY
                               VERDICT

I.      INTRODUCTION

        Pursuant to Fed. R. Civ. Proc. 50 and Fed. R. Civ. Proc. 59, the Defendants, Town of

New Milford and Robert Santoro, as Administrator of the Estate of David Shortt (“Defendants”),

moved for judgment as a matter of law notwithstanding the jury verdict and for an offset to the

jury verdict in accordance with Connecticut General Statutes § 54-102uu. Defendants’ motion

should be granted for the following reasons:

        The Second Circuit’s mandate and the law of the case doctrine do not prevent this Court

from granting judgment as a matter of law after trial. The prior finding that the evidence was

sufficient to warrant a jury question does not bar reconsideration if the trial evidence ultimately

failed to support the jury's verdict. These doctrines are discretionary and do not restrict the




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Court’s ability to revisit its rulings prior to final judgment. Further, the evidence at trial regarding

Todd Cocchia's (“Cocchia”) statements was insufficient to support the jury's verdict. Cocchia’s

initial statement, providing specific details about Birch's alleged confession, was consistent with

the investigation at the time, and no evidence demonstrated that Detective Shortt knew the

statement was false or that Detective Ocif caused Cocchia to fabricate it.

        In the alternative, Defendants are entitled to an offset against the jury's verdict. The offset

provision is procedural, applies retroactively to Plaintiff's prior settlement, and prevents double

recovery for the same injury. Excluding legislatively approved settlements would undermine this

purpose.

        For these reasons, as further addressed below, the Court should grant judgment as a matter

of law for Defendants or, in the alternative, offset the jury's verdict in accordance with C.G.S. §

54-102uu.

II.     LEGAL ARGUMENT

        A. Appellate Mandate

        Plaintiff’s argument that the “appellate mandate” and law of the case doctrine preclude

granting judgment as a matter of law (#319, pp. 2–4) is without merit. While the Second Circuit

and district court previously found the evidence sufficient to create a jury question, this does not

foreclose granting judgment as a matter of law after trial.




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       The Second Circuit's interlocutory ruling that “a reasonable jury could find that Ocif

improperly coached Cocchia to make false statements inculpating Birch, and that Shortt

witnessed this coaching” does not prevent this Court from granting judgment as a matter of law

if the trial evidence was insufficient to support the jury's verdict. The appellate court's pre-trial

assessment that a reasonable jury “could” make certain findings does not mean that the jury's

actual findings after trial were supported by sufficient evidence.

       In Williams v. County of Westchester, the Second Circuit affirmed the district court's grant

of a motion for judgment as a matter of law under Rule 50(b) in favor of the same party for whom

summary judgment was earlier denied. The court explained that:

       We also reject Williams's suggestion that the trial court could not properly set
       aside the jury's verdict . . . because at an earlier stage of the case the court had
       denied a motion by defendants for summary judgment. The denial of summary
       judgment is an interlocutory decision. All interlocutory orders remain subject to
       modification or adjustment prior to the entry of a final judgment adjudicating the
       claims to which they pertain.

Williams v. County of Westchester, 171 F.3d 98, 102 (2d Cir. 1999); see also Wierzbic v. Howard,

331 F.R.D. 32, 45 (W.D.N.Y. 2019) (“Although a Rule 50(b) motion for judgment as a matter of

law is decided according to the same standard as a Rule 56(f) summary judgment motion . . . a

previous denial of summary judgment does not bar the district court from later granting judgment

as a matter of law in favor of the summary judgment movant.”)




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       Likewise, the law of the case doctrine is not an absolute bar to reconsideration of

previously decided issues. Courts may depart from prior decisions and rulings when the

circumstances of the case warrant it.

       The law of the case doctrine posits that when a court decides upon a rule of law,
       that decision should continue to govern the same issues in subsequent stages of
       the same case. Application of the law of the case doctrine is discretionary and
       does not limit a court's power to reconsider its own decisions prior to final
       judgment, however, the Second Circuit has cautioned that while a court may
       sometimes review an earlier ruling, nevertheless, because there is a strong policy
       favoring finality the court exercises its underlying power to review earlier rulings
       sparingly.

(Citations omitted, internal quotation marks omitted.) Egghead.Com, Inc. v. Brookhaven Capital

Management, Co., 194 F. Supp. 2d 232, 237 (S.D.N.Y. 2002). Lastly, while the standard for

judgment as a matter of law is similar to a motion for summary judgment, the procedural posture

is different. At the Rule 50(b) stage, the court has had the benefit of seeing all the evidence

presented at trial and can make a more informed determination about whether a reasonable jury

could have reached its verdict based on that evidence.

       In conclusion, while the court should certainly give careful consideration to the Second

Circuit's prior ruling and its own summary judgment decision, it is not absolutely precluded from

granting judgment as a matter of law if the circumstances warrant such action.

       B. The Evidence Regarding Todd Cocchia’s Statement to Detective Ocif and
          Detective Shortt Does Not Support the Jury’s Verdict




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       Plaintiff attempts to characterize Cocchia’s initial claim—that Mr. Birch confessed to

killing a man during a burglary to Cocchia—during the interview conducted by Detective Ocif

and Detective Shortt, as a “generic claim.” (#319, p. 5). It is understandable that Plaintiff would

diminish the significance of this inculpatory statement which was made approximately 15

minutes after Cocchia and Detectives Ocif and Shortt first met and before any questions were

asked or any facts related to the case were mentioned. However, Plaintiff’s characterization is

unavailing and should not distract the Court from the importance of Cocchia’s initial statement.

       Indeed, this spontaneous statement by Cocchia was far from generic. In fact, it was the

only complete and most factually specific inculpatory statement of Mr. Birch’s confession made

during the interview. Cocchi stated without prompting that Mr. Birch told him “…about way

back he did a burglary and there was a man in the house, and he killed him.” Cocchia was told

by Mr. Birch that he had been doing burglaries in the area and Cocchia thought it was in New

Milford. Birch told him that “there was a man in the house, and he stabbed him. And he said the

man died.” (DX B, p. 2).

       Each of these details, which were given by Cocchia at the beginning of the interview

without prompting, were credible and consistent with the investigation at the time of the

interview. Cocchia’s initial statement provided: (1) the place of the crime was in a “house;” (2)

the location was “in the area of New Milford;” (3) the victim was “stabbed;” (4) the victim

“died”—indicative of the nature of the stabbing where the burglar would have known the victim




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could not survive; and (4) the crime occurred “way back” consistent with knowledge that

approximately 30 months elapsed from the murder to Birch’s confession. (DX B, p. 2).

       Not a single fact represented by Cocchia during this early stage of the interview was

inconsistent with facts known to the detectives. The details were sufficient for the detectives to

believe that Cocchia had spoken to the perpetrator of the offense. Further, the detectives had no

prior knowledge of Mr. Birch and Cocchia’s trip to Virginia or the conversation between the two

of them while on the bus. There was no reason at the time of Cocchia’s account of Birch’s

confession for anyone to believe it was false.

       The unsolicited account of Birch’s confession was far from generic or insignificant. There

were other comments by Cocchia in the transcript and recording of the interview which restated

or confirmed Mr. Birch’s confession but none of those provided additional inculpatory evidence.

In other words, the initial statement from Cocchia—which Plaintiff cannot credibly argue was

fed to Cocchia—was credible because it was unprompted, and detectives Ocif and Shortt

reasonably relied on it. Aside from this now-described generic confession, Plaintiff did not

identify any specific false inculpatory facts presented to the jury. There was a complete absence

of evidence that could have supported a jury finding that Detective Shortt knew that Cocchia’s

statement regarding Mr. Birch’s confession on the bus was invariably false or that Detective

Ocif’s conduct caused Cocchia to provide a false confession by Birch. Instead of identifying false




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inculpatory evidence, Plaintiff’s objection relies on arguments that Ocif fed Cocchia facts and

personally believed Birch was guilty.

       In support of that argument, Plaintiff cites Vazquez v. City of New York, Docket No. 10-

CV-6277 (JMF), 2014 U.S. Dist. LEXIS 124483 (S.D.N.Y. Sep. 5, 2014) and disingenuously

asserts that merely providing facts to a witness is illegal. However, the 18-year-old witness in

Vazquez allegedly met repeatedly with Defendants who coerced her by threatening to jail her,

arrest her family, deport her parents, and they fed her non-public details about the crime and most

of her testimony came from the police.

       The court found that, “[d]rawing all inferences in Plaintiff's favor, a jury could infer from

Gomez's testimony that Defendants fabricated all (or most) of her testimony.” Id. at 22–23. At

trial and in his objection, Plaintiff claims Ocif told Cocchia that the victim was old, that Mr.

Birch was not alone during the murder and that the crime occurred at nighttime. (#319, p. 5).

       In the present case there was testimony that the Carr murder generated substantial media

attention. There was no evidence that the information provided by Ocif was non-public. Further,

none of the information noted in Plaintiff’s objection (#319) was provided before Cocchia related

Mr. Birch’s confession. No inculpatory evidence was elicited after Cocchia was informed that

the crime occurred at night or that Birch was not alone. (DX B, p. 12). No evidence was presented

that the comments of Detective Ocif were false.




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       Plaintiff’s argument regarding Detective Ocif’s personal belief that Birch committed the

murder (#319, p. 9) is irrelevant to the issue of Detective Shortt’s liability.

       The Fourth Amendment requires that arrest warrants must be supported by probable

cause. Officers submitting arrest warrants must believe probable cause exists that the person to

be arrested committed the offense. The jury heard testimony of Detective Ocif’s strong belief

that Birch committed the crime but also knew that a judge approved the warrant, a judge affirmed

probable cause after a hearing, and the jury found proof beyond a reasonable doubt. The jury

heard the audio tape and had the opportunity to read the transcript of the interview. The calm,

casual and open conversation, as well as the content of the interview, did not suggest in any way

during the questioning Detective Ocif’s opinion of Mr. Birch’s guilt.

       Reasonable and fair-minded persons could not find that Detective Shortt would have

known that Cocchia’s statements regarding Mr. Birch’s confession to Cocchia were false, and

that Detective Ocif caused Cocchia to fabricate Birch’s confession based on the overwhelming

evidence presented at trial. The jury’s finding could have been the result of sympathy in reaction

to the emotional testimony and evidence presented to put into question the validity of the criminal

jury’s finding of guilt. Therefore, the Court should grant Defendants’ Motion for Judgment as a

Matter of Law.

       C. Defendants Are Entitled to An Offset Under Connecticut General Statutes § 54-
          102uu




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        Defendants are entitled to an offset under Connecticut General Statutes § 54-102uu(h)

against the jury's verdict in favor of Plaintiff.

        First, Defendants have not waived their claim for an offset. While it is true that setoffs

and offsets are generally required to be pleaded as counterclaims, this rule does not apply here.

In United Technologies Corp. v. American Home Assurance Co., 237 F. Supp. 2d 168 (D. Conn.

2001) the court clarified that statutory offsets, such as those aimed at preventing double recovery,

are not subject to the same pleading requirements as traditional setoffs for mutual debts. The

court noted “[a]ccordingly, Connecticut case law requiring ‘setoffs’ to be affirmatively plead

does not defeat [defendant’s] claim to a reduction in the jury verdict. Properly characterized,

[defendant] is seeking a credit against the amount of its liability to the extent the payment of prior

settlements would result in ‘double recovery’ to [plaintiff] for the covered costs, not a ‘setoff’ as

defined in Connecticut law. See Imbrogno, 89 F.3d at 90 (doctrine of ‘setoff’ under Connecticut

law had no applicability in case seeking a reduction in a jury verdict to account for prior

settlement).” United Technologies Corp. v. American Home Assurance Co., 237 F. Supp. 2d 168,

171 (D. Conn. 2001).

        Second, Plaintiff's argument that the settlement agreement with the State of Connecticut

is not an “award” under § 54-102uu is unpersuasive. While it is true that the statute uses the term

award to refer to compensation ordered by the Claims Commissioner, the purpose of the offset

provision is to prevent double recovery for the same injury. The settlement agreement, which




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was approved by the legislature pursuant to Conn. Gen. Stat. § 3-125a, serves the same

compensatory purpose as an award under § 54-102uu. To interpret the statute as applying only

to formal awards by the Claims Commissioner would elevate form over substance and frustrate

the legislative intent to prevent windfall recoveries.

       Third, Plaintiff's argument that the offset provision cannot apply retroactively to the

settlement agreement (#319, pp. 25–27) is incorrect. While it is true that substantive statutes are

generally presumed to apply only prospectively, the offset provision at issue here is properly

characterized as procedural rather than substantive.

       [I]t is presumed that procedural statutes will be applied retrospectively. . . .
       Procedural statutes have been traditionally viewed as affecting remedies, not
       substantive rights, and therefore leave the preexisting scheme intact." (Citations
       omitted.) Moore v. McNamara, 201 Conn. 16, 22, 513 A.2d 660 (1986).
       "Although we have presumed that procedural or remedial statutes are intended to
       apply retroactively absent a clear expression of legislative intent to the contrary .
       . . a statute which, in form, provides but a change in remedy but actually brings
       about changes in substantive rights is not subject to retroactive application."
       (Citation omitted; internal quotation marks omitted.) Miano v. Thorne, 218 Conn.
       170, 175, 588 A.2d 189 (1991). "While there is no precise definition of either
       [substantive or procedural law], it is generally agreed that a substantive law
       creates, defines and regulates rights while a procedural law prescribes the
       methods of enforcing such rights or obtaining redress."

(Emphasis added.) D'Eramo v. Smith, 273 Conn. 610, 621, 872 A.2d 408 (2005). Subsection

(h) here does not create, define, or regulate rights, but rather prescribes the method of enforcing

rights and obtaining redress. It affects only an individual’s remedy, not the underlying right to




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the remedy. As such, Subsection (h) should apply retroactively absent clear legislative intent to

the contrary.

         Lastly, subsection (k) of General Statutes § 54-102uu does not foreclose an offset. On

top of releasing the State Defendants, the agreement between the State of Connecticut and

Plaintiff (#318-3) also includes that Plaintiff was required to file a withdrawal, with prejudice, of

his claim filed with the Office of the Claims Commissioner. (#318-3, p. 2). In other words, the

agreement between the State and Plaintiff contemplates and includes Plaintiff’s claims arising

under C.G.S. § 54-102uu, and therefore the award was still received under § 54-102uu. Further,

applying the offset provision in the case at bar aligns with the legislative intent behind the

statute—fair compensation while preventing double recovery. As such, the offset provision

contained in § 54-102uu(h) should apply here, and the verdict should thus be offset by the

settlement amount.

         In conclusion, the Court should grant Defendants' motion and reduce the judgment by

the amount of compensation Plaintiff has already received through the settlement agreement

with the State of Connecticut.

III.     CONCLUSION

         For the foregoing reasons, the Court should grant this motion. The Court shoulder enter

judgment for Defendants as a matter of law; alternatively, the Court should offset the jury’s

verdict in accordance with C.G.S. § 54-102uu.




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                                                     DEFENDANTS
                                                     TOWN OF NEW MILFORD, STEVEN
                                                     JORDAN, ROBERT SANTORO AS
                                                     ADMINISTRATOR OF THE ESTATE OF
                                                     DAVID SHORTT

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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the date first above a copy of the foregoing was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

electronic filing system or by mail to anyone unable to accept electronic filing. Parties may access

this filing through the Court’s system.


                                                            BY/s/ Forrest A. Noirot
                                                            Federal Bar No.: ct31754




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